Case 2:13-cr-20010-PKH         Document 28         Filed 07/23/13     Page 1 of 1 PageID #: 69




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                Case No. 2:13-CR-20010-002

PHILLIP SELF                                                                       DEFENDANT

                                            ORDER

       Currently before the Court is the Government’s Motion to Amend/Correct Indictment and

Plea Agreement (Doc. 27). The Government requests that the Indictment (Doc. 1) and the Plea

Agreement (Doc. 26) in this case be corrected to reflect that Defendant’s true name is Philip Self,

and not Phillip Self. Defense counsel has informed the Court that Defendant has no objection to the

Government’s Motion.

       “Although the general rule is that a court may not amend an indictment, that rule is

inapplicable when the change is one of form only.” United States v. Mason, 869 F.2d 414, 417 (8th

Cir. 1989). “Misnomers generally are mistakes of form that may be corrected by amending the

indictment.” Id. “Furthermore, a finding of prejudice to the defendant must be present before an

amendment is held impermissible.” Id. (quotation omitted).

       The Court finds that the amendment requested by the Government is one of form only and

that no prejudice to the defendant will result from granting the Government’s Motion.

       IT IS THEREFORE ORDERED that the Government’s Motion (Doc. 27) is GRANTED.

       IT IS SO ORDERED this 23rd day of July, 2013.


                                                            s/P. K. Holmes, III
                                                            P.K. HOLMES, III
                                                            CHIEF U.S. DISTRICT JUDGE
